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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                     :
 IN RE: AUTOMOTIVE PARTS                             : Master File No. 12-md-02311
 ANTITRUST LITIGATION                                :
                                                     : Case No. 12-cv-00603
                                                     :
 PRODUCT:                                            :
                                                     :
 OCCUPANT SAFETY RESTRAINT                           :
 SYSTEMS                                             :

                                                     :
 This Document Applies to:                           : Hon. Marianne O. Battani
                                                     :
 ALL END-PAYOR ACTIONS                               :


   ORDER GRANTING END-PAYOR PLAINTIFFS’ MOTION FOR PRELIMINARY
  APPROVAL OF PROPOSED SETTLEMENT WITH AUTOLIV, INC., AUTOLIV ASP,
   INC., AUTOLIV B.V. & CO. KG, AUTOLIV SAFETY TECHNOLOGY, INC. AND
                  AUTOLIV JAPAN LTD. AND PROVISIONAL
                 CERTIFICATION OF A SETTLEMENT CLASS



      Upon consideration of End-Payor Plaintiffs’ Motion for Preliminary Approval of Proposed

 Settlement with Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V. & Co. KG, Autoliv Safety

 Technology, Inc., and Autoliv Japan Ltd. (collectively “Autoliv”) and Provisional Certification

 of a Settlement Class (the “Motion”), it is hereby ORDERED as follows:

        1.   The Motion is hereby Granted.

        2.   Unless otherwise set forth herein, defined terms in this Order shall have the same

 meaning ascribed to them in the Settlement Agreement.




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                          Preliminary Approval of Settlement Agreement

        3.   The terms of the Settlement Agreement are hereby preliminarily approved, including

 the release contained therein, as being fair, reasonable, and adequate to the Settlement Class,

 subject to a Fairness Hearing. The court finds that the Settlement Agreement was entered into at

 arm’s length by experienced counsel and is sufficiently within the range of reasonableness that

 notice of the Settlement Agreement should be given, pursuant to a plan to be submitted by

 Settlement Class Counsel and approved by the Court at a later date as provided in this Order.

                                         Class Certification

        4.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure and in light of the

 proposed settlement, the Court hereby finds that the prerequisites for a class action have been

 met and provisionally certifies the following class for settlement purposes (the “Settlement

 Class”):

        All persons and entities from January 1, 2003 through the Execution Date who:
        (1) purchased or leased a new vehicle in the United States for personal use and
        not for resale which included one or more Occupant Safety Restraint System(s) as
        a component part, which were manufactured or sold by a Defendant, any current
        or former parent, subsidiary, or affiliate of a Defendant or any co-conspirator of
        the Defendants, or (2) indirectly purchased one or more Occupant Safety Restraint
        System(s) as a replacement part, which were manufactured or sold by a
        Defendant, any current or former parent, subsidiary, or affiliate of a Defendant or
        any co-conspirator of the Defendants. Excluded from the Settlement Class are
        Defendants, their parent companies, subsidiaries and affiliates, any co-
        conspirators, federal government entities and instrumentalities of the federal
        government, states and their subdivisions, agencies and instrumentalities, and all
        persons who purchased Occupant Safety Restraint Systems for resale.

        5.   The Court finds that provisional certification of the Settlement Class is warranted in

 light of the Settlement Agreement because: (a) the Settlement Class is so numerous that joinder

 is impracticable; (b) End-Payor Plaintiffs’ claims present common issues and are typical of the

 Settlement Class; (c) End-Payor Plaintiffs and Settlement Class Counsel (defined below) will



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 fairly and adequately represent the Settlement Class; and (d) common issues predominate over

 any individual issues affecting the members of the Settlement Class. The Court further finds that

 End-Payor Plaintiffs’ interests are aligned with the interests of all other members of the

 Settlement Class. The Court also finds settlement of this action on a class basis superior to other

 means of resolving the matter.

                             Appointment of Settlement Class Counsel

        6.   The Court hereby appoints Cotchett, Pitre & McCarthy LLP, Robins, Kaplan, Miller

 & Ciresi L.L.P., and Susman Godfrey L.L.P. as Settlement Class Counsel, having determined

 that the requirements of Rule 23(g) of the Federal Rules of Civil Procedure are fully satisfied by

 this appointment.

        7.   Each End-Payor Plaintiff Class representative named in the Complaint will serve as

 End-Payor Plaintiff Class representative on behalf of the Settlement Class.

                                   Notice to Potential Class Members

        8.   Prior to the Fairness Hearing, Settlement Class Counsel shall provide notice of the

 Settlement Agreement and the Fairness Hearing to all persons affected by and/or entitled to

 participate in the Settlement Agreement in compliance with the notice requirements of Rule 23

 of the Federal Rules of Civil Procedure and due process of law. Such means of providing notice

 will be addressed in a subsequent Order following submission by End-Payor Plaintiffs at a later

 date of a proposal for notice to the Settlement Class and related forms for notice, claims and

 distribution (“Notice Motion”).

        9.   The Notice Motion shall include a proposed form of, method for, and date of

 dissemination of notice and the date on which the notice is mailed shall be the “Notice Date.”




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                                          Other Provisions

        10. In the event that the Settlement Agreement is terminated in accordance with its

 provisions, the Settlement Agreement and all proceedings had in connection therewith shall be

 null and void, except insofar as expressly provided to the contrary in the Settlement Agreement,

 and without prejudice to the status quo and rights of End-Payor Plaintiffs, Autoliv, and the

 members of the Settlement Class.

        11. The Court’s provisional certification of the Settlement Class as provided herein is

 without prejudice to, or waiver of, the rights of any Defendants to contest certification of any

 other class proposed in these coordinated actions. The Court’s findings in this Order shall have

 no effect on the Court’s ruling on any motion to certify any class in these actions or on the

 Court’s ruling(s) concerning any Defendant’s motion; and no party may cite or refer to the

 Court’s approval of the Settlement Class as persuasive or binding authority with respect to any

 motion to certify any such class or any Defendant’s motion.

        12. The Court approves the establishment of the escrow account under the Settlement

 Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section

 468B and the Treasury Regulations promulgated thereunder, and retains continuing jurisdiction

 as to any issue that may arise in connection with the formation and/or administration of the QSF.

 Settlement Class Counsel are, in accordance with the Settlement Agreement, authorized to

 expend funds from the QSF for the payment of the costs of notice, payment of taxes, and

 settlement administration costs.




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         13. The litigation against Autoliv is stayed except to the extent necessary to effectuate

 the Settlement Agreement.

 IT IS SO ORDERED


 Date: July 2, 2014                                       s/Marianne O. Battani
                                                          MARIANNE O. BATTANI
                                                          United States District Judge



                                      CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's
 ECF System to their respective email addresses or First Class U.S. mail to the non-ECF participants on
 July 2, 2014.


                                                                 s/ Kay Doaks
                                                                 Case Manager




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